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   7                                UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
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   9
       DEMETRICE TALLEY, individually and on              Case No. 2:22-cv-03125-JFW-MRWx
  10   behalf of all others similarly situated,
                                                          Hon. John F. Walter
  11                      Plaintiffs,
              v.                                          ORDER RE JOINT STIPULATION
  12
                                                          REQUESTING VOLUNTARY DISMISSAL
  13   TESLA, INC., dba TESLA MOTORS, INC., a             PURSUANT TO FED. R. CIV. P. 41(a)(A)(ii)
       Delaware Corporation; and DOES 1-10,
  14   inclusive,

  15
                          Defendants.
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                                                     ORDER
  18
              The Court has reviewed and considered the Joint Stipulation Requesting Voluntary
  19
       Dismissal Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) (the “Stipulation”) filed by Plaintiff
  20
       DEMETRICE TALLEY (“Plaintiff”) and TESLA, INC., dba TESLA MOTORS INC.,
  21
       (“Defendant”). The Parties’ Stipulation requesting dismissal of this entire action without prejudice
  22
       shall be and hereby is GRANTED. The case is hereby dismissed in its entirety, without prejudice.
  23
       IT IS SO ORDERED.
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       DATED: May 31, 2022
  26                                              _________________________
                                                   Hon. John F. Walter
  27                                               United States District Court Judge

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                                                   1               Case No. 2:22-cv-0315-JFW-MRW
                   ORDER GRANTING JOINT STIPULATION REQUESTING VOLUNTARY DISMISSAL
